                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

JASON WARE,                                          )
                                                     )
               Petitioner,                           )
                                                     )
v.                                                   )       Nos.    2:09-CR-31-RLJ-MCLC-4
                                                     )               2:16-CV-53-RLJ
UNITED STATES OF AMERICA,                            )
                                                     )
               Respondent.                           )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 [Doc. 1328]. The United States responded in opposition to

collateral relief [Doc. 1349]. Also before the Court is Petitioner’s pro se request that the Court

stay resolution of his petition pending the Supreme Court’s decision in Beckles v. United States,

No. 15-8544, 2016 WL 1029080 (U.S. June 27, 2016). For the reasons stated below, both

motions will be DENIED and the petition DISMISSED WITH PREJUDICE.

I.      BACKGROUND

        In March of 2010, Petitioner pled guilty to conspiring to distribute at least fifty grams of

cocaine base (“crack”), in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) [Doc. 397 ¶¶ 1, 3, 4;

Doc. 443]. In his plea agreement, Petitioner “knowingly and voluntarily waive[d] the right to

file any motions or pleadings pursuant to 28 U.S.C. § 2255,” with the sole exception of “claims

of ineffective assistance of counsel or prosecutorial misconduct” [Doc. 397 ¶ 15(b)].

        Based on prior Tennessee and Georgia drug convictions, Petitioner faced a statutorily

enhanced mandatory minimum penalty of life imprisonment under § 841(b)(1)(A) [Id. ¶ 1(a);

Doc. 325]. Additionally, based on the prior Georgia drug conviction and a prior Georgia




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conviction for kidnapping and aggravated assault, he was deemed a career offender under

Section 4B1.1 of the United States Sentencing Guidelines with a resulting guideline range of 262

to 327 months’ imprisonment [Presentence Investigation Report (“PSR”) ¶¶ 47, 71, 72, 102–03].

As a result of Petitioner’s substantial assistance to law-enforcement officials, the United States

requested a downward departure under 18 U.S.C. § 3553(a) and Section 5K1.1 [Doc. 975]. In

consideration of that motion, the Court departed from the statutory minimum term of life

imprisonment, sentencing Petitioner to a bottom-of-the-guidelines 262-month term of

incarceration followed by ten years supervised release [Doc. 1104]. No appeal was taken.

       On June 26, 2015, the United States Supreme Court decided Johnson v. United States,

135 S. Ct. 2551 (2015). Within a year of that decision, on March 17, 2016, Petitioner filed the

instant challenge to his career offender designation in light of Johnson [Doc. 1328].

II.    MOTION TO STAY RESOLUTION OF THE PETITION

       In addition to his request for collateral relief, Petitioner asks that the Court stay resolution

of his petition pending the Supreme Court’s decision next term in Beckles [Doc. 1360]. As

support for his request, Petitioner notes that the decision is expected to address a key issue in his

case—retroactive application of Johnson in the Guideline context [Id. at 2].

       “The question whether to stay a case pending a potentially dispositive decision in an

appellate court is a pre-trial matter committed to the sound discretion of the [court].” United

States v. Johnson, No. 3:11-CR-48, 2016 WL 4035187, at *1 (S.D. Ohio July 28, 2016). Under

the circumstances of the current case, and because Petitioner has failed to demonstrate that

Johnson’s retroactive application would convert his sentence into one imposed in contravention

of the laws of the United States, the Court decline to issue the requested stay.

III.   STANDARD OF REVIEW

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       The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the

entire proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting

Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly

higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the

proceedings which necessarily results in a complete miscarriage of justice or an egregious error

violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

IV.    ANALYSIS

       Petitioner attacks his sentence by arguing that Johnson—in which the United States

Supreme Court invalidated the ACCA’s residual clause as unconstitutionally vague—precludes

his continued categorization as a career offender [Doc. 1328 (implying that Johnson’s holding

extends to identical provisions of the Guidelines and, as a result, his prior convictions no longer

qualify as career-offender predicates)].1 The Court finds that it need not address whether the

petition is timely because, even assuming the Court were to find that Johnson’s application in the

Guideline context triggered a renewed window under § 2255(f)(3), see 28 U.S.C. § 2255(f)(3)


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        The government attempts to rely on the waiver provision of Petitioner’s plea agreement
as an alternative, independent basis for denying relief [Doc. 1335 pp. 11–12]. While the Court
recognizes that Petitioner “knowingly and voluntarily waive[d] the right to file any motions or
pleadings pursuant to 28 U.S.C. § 2255 or to collaterally attack the [his] conviction and/or
resulting sentence” except in cases that involve “ineffective assistance of counsel or
prosecutorial misconduct” [Doc. 397 ¶ 15(b)], it is far from clear that this waiver can be enforced
to bar him from challenging his sentence under the circumstances. See, e.g., United States v.
Thompson, No. 3:06-cr-56, 2008 U.S. Dist. LEXIS 109305, at *37–39 (W.D. Ky. Nov. 7, 2008)
(explaining knowing and voluntary waivers are enforceable so long as they do not result in a
miscarriage of justice). The Court finds that it need not resolve this dispute here, however,
because Petitioner has failed to show that his sentence was imposed in violation of the law.
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(providing an alternative commencement from “the date on which the right asserted was initially

recognized by the Supreme Court and made retroactively applicable to cases on collateral

review”), Petitioner’s proposed claim would fail as a matter of law.

       A. Categorization as Career Offender after Johnson v. United States

   The ACCA defines “violent felony” as “any crime punishable by imprisonment for a term

exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of

physical force against the person of another” (the “use-of-physical-force clause”); (2) “is

burglary, arson, or extortion, involves use of explosives” (the “enumerated-offense clause”); or

(3) “otherwise involves conduct that presents a serious potential risk of physical injury to another

(the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—

that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563. The Court went

on to make clear, however, that its decision did “not call into question . . . the remainder of the

[ACCA’s] definition of violent felony,” i.e., the use-of-physical-force and enumerated-offense

clauses. Id. Nor did Johnson disturb the use of prior serious drug offenses as predicates. The

Sixth Circuit recently held that the same vagueness analysis renders the Guidelines’ parallel

residual clause constitutionally infirm. See United States v. Pawlak, 822 F.3d 902, 911 (2016)

(concluding that the “rationale of Johnson applies equally” to the Guidelines’ residual clause).

   Section 4B1.1 classifies a defendant as a career offender if (1) he or she was at least eighteen

years old at the time the defendant committed the instant offense; (2) the instant offense of

conviction is a felony that is either a crime of violence or a controlled substance offense; and (3)

he or she has at least two prior felony convictions of either a crime of violence or a controlled

substance offense. U.S. Sentencing Manual § 4B1.1(a). Only Petitioner’s satisfaction of the

third prong—possession of two qualifying predicate convictions—is disputed [Doc. 29].

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   “Controlled substance offense” is defined as any offense “punishable by imprisonment for a

term exceeding one year, that prohibits the manufacture, import, export, distribution, or

dispensing of a controlled substance . . . or the possession of controlled substance . . . with intent

to manufacture, import, export, distribute, or dispense.” U.S. Sentencing Manual § 4B1.2(b).

“Crime of violence” is defined in an almost identical manner as “violent felony” under the

ACCA. See U.S. Sentencing Manual §4B1.2(a) (adopting identical use-of-force and residual

clauses as well as a nearly identical enumerated-offense clause).

   The validity of Petitioner’s sentence thus depends on whether two or more of his prior

convictions qualify as “crimes of violence” under an unaffected provision of Section 4B1.2 or

“controlled substance offenses.” See e.g., United States v. Ozier, 796 F.3d 597, 604 (6th Cir.

2015) (explaining courts need not decide what import, if any, Johnson has on the Sentencing

Guidelines’ residual clause where the petitioner’s prior convictions qualify as predicate offenses

independent of the residual clause). To determine whether an offense qualifies under one of the

above provisions, courts must first identify the precise crime of conviction by employing a

“categorical approach,” looking “only to the statutory definitions—elements—of a defendant’s

prior offense, and not to the particular facts underlying [each individual] conviction[].”

Descamps v. United States, 133 S. Ct. 2276, 2283, 2285 (2013).

   A review of Petitioner’s PSR reveals that a sufficient number of his prior convictions

categorically qualify as predicate offenses independent of the residual clause and, as a result, the

Court finds that he has failed to demonstrate an entitlement to § 2255 collateral relief.

   First, petitioner’s prior Georgia drug conviction involved the possession of a controlled

substance with intent to distribute and carried a maximum penalty in excess of one year

incarceration [PSR ¶ 71], and, as a result, was properly classified as qualifying predicate

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conviction under Section 4B1.1(a)(3). See United States v. Wilson, 166 F. App’x 420, 421–22

(11th Cir. 2006) (finding that a violation of the same Georgia statute involved in Petitioner’s

prior drug conviction was categorically a controlled substance offense); see also United States v.

Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015) (deeming Johnson “irrelevant” where

enhancement stemmed from drug offenses). Second, his Georgia conviction for kidnapping and

aggravated assault operates as the second and final predicate offense because the conviction

qualifies as a “crime of violence” under the use-of-physical force clause. See U.S. Sentencing

Manual § 4B1.2, cmt. n. 1 (specifically listing “kidnapping” and “aggravated assault” as

enumerated crimes of violence); see also United States v. Smith, 417 F. App’x 911, 917 (11th

Cir. 2011) (finding Georgia’s variant of aggravated assault qualified as a predicate crime of

violence under Section 4B1.2(a)(1)’s use-of-physical-force prong). Thus, Johnson is inapposite.2

IV.    CONCLUSION

       For the reasons discussed above, Petitioner’s request that the Court stay proceedings

pending Beckles [Doc. 1360] is DENIED. His § 2255 motion [Doc. 1328] will be DENIED and

DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

would not be taken in good faith and would be totally frivolous. Therefore, this Court will



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        To the extent that Petitioner argues his attorney rendered constitutionally deficient
assistance by failing to challenge use of the Georgia conviction for kidnapping and aggravated
burglary in anticipation of the Supreme Court’s holding in Johnson, the Court disagrees. First,
counsel’s failure to predict the subsequent change in case law cannot be said to amount to
deficient representation under the circumstances, see Green v. Johnson, 116 F.3d 1115, 1125
(5th Cir. 1997) (“[T]here is no general duty on the part of defense counsel to anticipate changes
in the law.”); Alcorn v. Smith, 781 F.2d 58, 62 (6th Cir. 1986) (noting that non-egregious “errors
such as failure to perceive or anticipate a change in the law . . . generally cannot be considered
ineffective assistance of counsel”), and, second, Petitioner has failed to demonstrate that
prejudice resulted from counsel’s failure to mount the proposed objection, see Conley v. Warden
Chillicothe Corr. Inst., 505 F. App’x 501, 508 (6th Cir. 2012) (noting that counsel is not
ineffective for failing to raise meritless objections).
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DENY Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal

Rules of Appellate Procedure. Petitioner having failed to make a substantial showing of the

denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

       AN APPROPRIATE ORDER WILL ENTER.



                                                            s/ Leon Jordan
                                                             United States District Judge




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